               Case 1:21-bk-00002        Document No. 14        Filed 10/19/21     Page 1 of 2
                                                                                            FILED
                                                                                               Clerk
                                                                                           District Court
                                                                                         OCT 19 2021
                                                                   for the Northern Mariana Islands
                                                                   By________________________
                                                                             (Deputy Clerk)
                                   IN THE UNITED STATES DISTRICT COURT
 1                                 FOR THE NORTHERN MARIANA ISLANDS
 2                                         BANKRUPTCY DIVISION

 3
                                                             Bankruptcy Case No. 1:21-bk-00002
 4
     IN RE:
 5                                                           CERTIFICATE OF MAILING
     JULIE ANN PALACIOS GUERRERO
 6
     SSN: xxx-xx-6222;
 7                                      Debtor,
 8

 9            I hereby certify that on the 19th day of October 2021, a true and correct copy of the “Final
10   Decree (ECF 13)” was electronically served upon the following using the Court's CM/ECF system:

11      •     Kathlyn Selleck on behalf of Trustee Kathlyn Selleck
              ch13mail@aol.com
12      •     Office of the U.S. Trustee
              ustpregion15.hi.ecf@usdoj.gov
13

14            Further, I certify that on the 19th day of October 2021, that a true and correct copy was mailed
     via U.S. Mail, first class postage prepaid and properly addressed to the debtor and each party on the
15
     List of Creditors.
16

17                                                          HEATHER L. KENNEDY, Clerk of Court
18

19                                                                 By: __/s/________________

20   Date of Issuance: October 19, 2021                            Aiko D. Erungel, Deputy Clerk

21

22

23

24
                       Case 1:21-bk-00002   Document No. 14          Filed 10/19/21   Page 2 of 2

              UNITED STATES DISTRICT COURT FOR THE NORTHERN MARIANA ISLANDS
                                    BANKRUPTCY DIVISION
                                      CREDITOR MATRIX
                                       CASE NUMBER: 1:21-bk-00002

Julie Ann Palacios Guerrero            Bank of Guam                             Robert T. Torres
Capital Hill Isa Drive                                                          P.O. Box 503758
P.O. Box 500251                                                                 Plata Dr., Whispering Palms
Saipan, MP 96950                                                                Chalan Kiya
                                                                                Saipan, MP 96950

Kathlyn Selleck                        Robert T. Torres                         Robert Tenorio Torres
P.O. Box 315396                        P.O. Box 503758                          Attorney at Law
Tamuning, GU 96931                     , MP 96950                               Plata Drive, Whispering Palms (Chalan Ki
                                                                                P.O. Box 503758
                                                                                Saipan, MP, 96950

Office of the U.S. Trustee             Robert T. Torres
1132 Bishop Street, Suite 602          P.O. Box 503758
Honolulu, HI 96813                     Plata Dr., Whispering Palms
                                       Chalan Kiya
                                       Saipan, MP 96950



TOTAL NUMBER OF CREDITORS: 8




 10/19/2021                                                                                                     Page 1 of 1
